[1] This is an appeal by the defendants from a judgment awarding plaintiffs the recovery of one thousand dollars paid by them as commissions to the appellants for representing respondents as purchasers of that property designated as lot 8 in the opinion filed this day in the case of Robson v. Hahn,ante, p. 671 [277 P. 507]. The facts and the law are set forth in that opinion and we deem further discussion unnecessary.
Judgment affirmed.
Works, P.J., and Craig, J., concurred.
A petition for a rehearing of this cause was denied by the District Court of Appeal on June 4, 1929, and a petition by appellants to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on July 3, 1929.
All the Justices present concurred.
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